 Case 1:17-cv-01344-JEJ Document 14 Filed 11/22/17 Page 1 of 5 PageID #: 222




                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE

ALEX MIKULSKI, derivatively on behalf of
ALEXION PHARMACEUTICALS, INC.,

                      Plaintiff,

       v.                                                C.A. No. 17-1344-JEJ

LEONARD BELL, DAVID L. HALLAL, DAVID
R. BRENNAN, LUDWIG N. HANTSON, VIKAS
SINHA, DAVID J. ANDERSON, CARSTEN
THIEL, ALVIN S. PARVEN, ANDREAS
RUMMELT, ANN M. VENEMAN, M. MICHELE
BURNS, CHRISTOPHER J. COUGHLIN, JOHN T.
MOLLEN, FELIX J. BAKER, R. DOUGLAS
NORBY, WILLIAM R. KELLER, JOSEPH A.
MADRI, and LARRY L. MATHIS,

                      Defendants,

       and

ALEXION PHARMACEUTICALS, INC.,

                      Nominal Defendant.

                    JOINT STIPULATION AND [PROPOSED] ORDER

              WHEREAS, on September 22, 2017, Plaintiff Alex Mikulski (“Plaintiff”) in the

above-captioned action (the “Action”) filed a complaint (the “Complaint”), derivatively on

behalf of nominal defendant Alexion Pharmaceuticals, Inc. (“Alexion”), asserting claims against

defendants Leonard Bell, David L. Hallal, David R. Brennan, Ludwig N. Hantson, Vikas Sinha,

David J. Anderson, Carsten Thiel, Alvin S. Parven, Andreas Rummelt, Ann M. Veneman, M.

Michele Burns, Christopher J. Coughlin, John T. Mollen, Felix J. Baker, R. Douglas Norby,

William R. Keller, Joseph A. Madri, and Larry L. Mathis (the “Individual Defendants”),
 Case 1:17-cv-01344-JEJ Document 14 Filed 11/22/17 Page 2 of 5 PageID #: 223




pursuant to Sections 10(b), 14(a), and 20(a) of the Securities Exchange Act of 1934, 15 U.S.C. §

78a et seq. and Delaware state law;

               WHEREAS, on September 25, 2017, Plaintiff served Alexion through Alexion’s

registered agent with a copy of the complaint and summons; and

               WHEREAS, on October 2, 2017, Plaintiff granted Alexion’s request to stay

Alexion’s time to respond to the complaint pending discussions among counsel regarding service

of process on the individual defendants and a case schedule;

               IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff,

Alexion, and all Individual Defendants, except Larry L. Mathis, as follows:

               1.      Undersigned counsel for Alexion and all of the Individual Defendants,

except for Larry L. Mathis, is authorized to accept, and hereby does accept, service of the

summons and Complaint in the Action on their behalf, without prejudice and without waiver of

any of their defenses, objections or arguments, except as to sufficiency of service of process.

               2.      Alexion and all Individual Defendants, except for Larry L. Mathis, shall

not be required to answer or otherwise respond to, and are hereby expressly relieved from

answering or otherwise responding to, the Complaint, the Amended Complaint as provided for in

paragraph 3 below, and any second amended complaint as provided for in paragraph 5 below

until after the motions contemplated in paragraphs 4 and 5 below are ruled upon by the Court as

long as Alexion and all Individual Defendants, except for Larry L. Mathis, make such motions

pursuant to paragraphs 4 and 5 below.

               3.      Plaintiff shall have 45 days from the date of entry of an order approving

this stipulation to file an amended complaint (“Amended Complaint”).




                                                 2
 Case 1:17-cv-01344-JEJ Document 14 Filed 11/22/17 Page 3 of 5 PageID #: 224




               4.      Alexion and all Individual Defendants, except for Larry L. Mathis, shall,

45 days after the date of filing of Plaintiff’s Amended Complaint, move to dismiss the Amended

Complaint for failure to plead demand futility pursuant to Federal Rule of Civil Procedure

23.1(b) and will file a consolidated opening brief in support of such motion that is 15 pages or

less. Plaintiff shall, 90 days after the date of filing of the Amended Complaint, file a brief

opposing the motion to dismiss that is 15 pages or less. Alexion and all Individual Defendants,

except for Larry L. Mathis, shall have 120 days from the date of filing of the Amended

Complaint to file a consolidated reply brief in support of the motion to dismiss that is 15 pages or

less. In calculating the 15-page limit for each of the foregoing briefs, the cover page, tables of

contents and authorities, and signature block shall not count towards the 15-page limit.

               5.      By entering into this stipulation and first responding to the Amended

Complaint by filing a motion to dismiss only pursuant to Federal Rule of Civil Procedure

23.1(b), Alexion and all Individual Defendants, except for Larry L. Mathis, do not waive and

expressly preserve their arguments that the Amended Complaint fails to state a claim under

Federal Rule of Civil Procedure 12(b)(6). In the event that the motion to dismiss is denied, the

parties shall meet and confer, and shall submit to the Court within 14 days of a ruling on the

motion to dismiss, a schedule for briefing a subsequent motion to dismiss for failure to state a

claim pursuant to Federal Rule of Civil Procedure 12(b)(6), which schedule might begin with the

filing by Plaintiff of a second amended complaint.

               6.      There have been no requests for an extension of time previously made in

this matter.

               7.      The parties shall not be required to submit a Joint Status Report, pursuant

to the Court’s November 6, 2017 case management order, until 30 days after at least one of


                                                  3
 Case 1:17-cv-01344-JEJ Document 14 Filed 11/22/17 Page 4 of 5 PageID #: 225




Alexion and the Individual Defendants, except for Larry L. Mathis, has filed a responsive

pleading.

                                                   Respectfully submitted,

OF COUNSEL:                                        FARNAN LLP

THE ROSEN LAW FIRM, P.A.
Phillip Kim                                        By:   /s/ Brian E. Farnan
275 Madison Avenue, 34th Floor                           Brian E. Farnan (#4089)
New York, NY 10016                                       Michael J. Farnan (#5165)
(212) 686-1060                                           919 N. Market Street, 12th Floor
pkim@rosenlegal.com                                      Wilmington, DE 19801
                                                         (302) 777-0300
THE BROWN LAW FIRM, P.C.                                 bfarnan@farnanlaw.com
Timothy W. Brown                                         mfarnan@farnanlaw.com
240 Townsend Square
Oyster Bay, NY 11771
(516) 922-5427
tbrown@thebrownlawfirm.net
                                                   Attorneys for Plaintiff




                                               4
 Case 1:17-cv-01344-JEJ Document 14 Filed 11/22/17 Page 5 of 5 PageID #: 226




                                             PAUL, WEISS, RIFKIND, WHARTON
                                             & GARRISON LLP
OF COUNSEL:
                                             By:   /s/ Matthew D. Stachel
Daniel J. Kramer                                   Stephen P. Lamb (#2053)
Audra J. Soloway                                   Matthew D. Stachel (#5419)
Maxwell A. Kosman                                  500 Delaware Avenue, Suite 200
PAUL, WEISS, RIFKIND,                              Post Office Box 32
  WHARTON & GARRISON LLP                           Wilmington, DE 19899-0032
1285 Avenue of the Americas                        (302) 655-4410
New York, NY 10019-6064                            slamb@paulweiss.com
(212) 373-3000                                     mstachel@paulweiss.com
dkramer@paulweiss.com
asoloway@paulweiss.com                       Attorneys for Defendants Leonard Bell, David
mkosman@paulweiss.com                        L. Hallal, David R. Brennan, Ludwig N.
                                             Hantson, Vikas Sinha, David J. Anderson,
                                             Carsten Thiel, Alvin S. Parven, Andreas
                                             Rummelt, Ann M. Veneman, M. Michele Burns,
                                             Christopher J. Coughlin, John T. Mollen, Felix
                                             J. Baker, R. Douglas Norby, William R. Keller,
                                             and Joseph A. Madri and Nominal Defendant
Dated: November 22, 2017                     Alexion Pharmaceuticals, Inc.




SO ORDERED.

Dated: _________________________, 2017


                                                     Honorable John E. Jones III
                                                     United States District Judge




                                         5
